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         UNITED STATES BANKRUPTCY COURT
         DISTRICT OF NEW JERSEY

         WOLLMUTH MAHER & DEUTSCH LLP                                                    Order Filed on April 13, 2023
         Paul R. DeFilippo, Esq.                                                         by Clerk
                                                                                         U.S. Bankruptcy Court
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         New York, New York 10110
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         (Admission pro hac vice pending)

         PROPOSED ATTORNEYS FOR DEBTOR
         In re:                                                          Chapter 11

         LTL MANAGEMENT LLC,1                                            Case No.: 23-12825 (MBK)

                                     Debtor.                             Judge: Michael B. Kaplan


                                ORDER SHORTENING TIME PERIOD FOR
                            NOTICE, SETTING HEARING AND LIMITING NOTICE

                          The relief set forth on the following pages is hereby ORDERED.



DATED: April 13, 2023




     1
                  The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
                  501 George Street, New Brunswick, New Jersey 08933.


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 Debtor: LTL Management LLC
 Case No.: 23-12825-MBK
 Caption: Order Shortening Time Period for Notice, Setting Hearing and Limiting Notice

                  After review of the application of LTL Management LLC, the above-captioned

 debtor (the “Debtor”), for a reduction of time for a hearing on the Debtor’s Motion for an Order

 (I) Appointing Co-Mediators, (II) Establishing Mediation Procedures and (III) Granting Related

 Relief (the “Motion”) under Fed. R. Bankr. P. 9006(c)(1), it is

                  ORDERED as follows:

                  1.                                                    May 3, 2023
                         A hearing will be conducted on the matter on ______________________

     10:00 am in the United States Bankruptcy Court, ______________________________,
 at __________                                        402 East State Street, Trenton, NJ 08608

                 8
 Courtroom No. _____.

                  2.     The Applicant must serve a copy of this Order, and all related documents,

 on the following parties: (a) the Office of the United States Trustee for the District of New

 Jersey; (b) the top law firms representing talc claimants against the Debtor, as identified in the

 Debtor’s chapter 11 petition; (c) counsel to the Debtor’s non debtor affiliates, Johnson &

 Johnson Holdco (NA) Inc. and Johnson & Johnson; and (d) the proposed Future Claimants’

 Representative and her proposed counsel.

                  by տ each, տ
                             x any of the following methods selected by the Court:

                  տ fax, տ                                 x email, տ hand delivery.
                         x overnight mail, տ regular mail, տ

                  3.     The Applicant must also serve a copy of this Order, and all related

 documents, on the following parties:

 ______________________________________________________________________________

                  by տ each, տ any of the following methods selected by the Court:

                  տ fax, տ overnight mail, տ regular mail, տ email, տ hand delivery.


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                  4.      Service must be made:

                  տ
                  x on the same day as the date of this order, or

                  տ within _____ day(s) of the date of this Order.

                  5.      Notice by telephone:

                  տ
                  x is not required

                  տ must be provided to

                  ________________________________________________________

                  x on the same day as the date of this Order, or
                  տ

                  տ within _____ day(s) of the date of this Order.

                  6.      A Certification of Service must be filed prior to the hearing date.

                  7.      Any objections to the motion/application identified above:

                  տ
                  x must be filed with the Court and served on all parties in interest by electronic

                  or overnight mail __________
                                        7      day(s) prior to the scheduled hearing; or

                  տ may be presented orally at the hearing.

                  8.      տ Court appearances are required to prosecute said motion/application

                  and any objections.

                          տ
                          x Parties may request to appear by phone by contacting Chambers prior

                  to the return date.




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